UNITED STATE'S JUDICIAL PANEL n
on
MULTIDISTRICT LITIGATION

IN RE: AUTO BODY SHOP ANTITRUST LITIGATION MDL No. 2557

TRANSFER oRDER

Befo re the Panel: Certain defendants move under 28 U.S.C. § 1407(0) to transfer the actions
listed on Schedule A to the Middle District of Florida for inclusion in MDL No. 255 7.] The motions

are unopposed.

After considering the argument of counsel, we find that the actions share common questions
of fact with the actions transferred to MDL No. 2557, and that transfer under 28 U.S.C. § 1407 will
serve the convenience of the parties and witnesses and promote the just and efficient conduct of this
litigation ln 2014, we centralized actions “shar[ing] common factual questions relating to the
allegation of an industry-wide conspiracy spearheaded by State Farrn to suppress the reimbursement
rates applicable to automobile collision repair shops, including complex issues concerning the role
of ‘direct repair programs’ in furtherance of the alleged scheme.” See fn re: Auto Body Shop
Antftrust Li'tig., 37 F. Supp. 3d 1388, 1390-91 (J.P.M.L. 2014). Since then, we have transferred
numerous related actions alleging the same or a substantially Similar industry-wide conspiracy2 Like
many of the centralized actions, plaintiff Professional, lnc., which also is a plaintiff in the MDL,3
alleges that numerous insurers acted in concert to control and depress the reimbursement rates
applicable to automobile collision repair shops and that plaintiff has been injured as a result.
Although Professional’s new complaints allege few details of the concerted conduct, plaintiff does
not dispute movants’ representation that the actions involve the same anticompetitive conduct
alleged in MDL No. 2557. ln fact, the vast majority of the 33 named insurer defendants in the new

 

1 Thirteen defendants move for transfer of Professional, Inc. v. Fz`rst Choz'ceAuto lnsurance
Company: State Farrn Mutual Automobile lnsurance Company, Allstate lnsurance Company,
Encompass Home and Auto lnsurance Company, Esurance Company, Travelers Property Casualty
lnsurance Company, Liberty Mutual insurance Company, Safece lnsurance Company of America,
State Auto Mutual lnsurance Company, USAA Casualty lnsurance Company, The Cincinnati
lnsurance Company, Nationwide General lnsurance Company, let Century lnsurance Company,
and Farmers lnsurance Exchange. Kemper lndependence lnsurance Company is the movant in
Professfonal, Inc. v. Kemper Independence lnsurance Company.

2 See, e.g., Transfer Order (meford’s Aufo Cenrer), MDL No. 2557 (J.P.M.L. Dec. 12,
2014); Transfer Order (Lez`f’s Auto Collisfon Cenfers), MDL No. 2557 (J.P.M.L. Apr. l, 2015).

3 See Afliance of Atttomotz've Service Provz`ders, Inc. v. State Far'm Mumal Auto Ins. CO.,
C.A. No. 14-6008 (M.D. Fla.).

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complaints are the same as in the MDL. Plaintiff Professional also does not dispute movants’
representation that the state law claims in its new actions overlap with the claims asserted in its
previously centralized action. Thus, transfer will eliminate duplicative discovery, prevent
inconsistent rulings on pretrial matters, and conserve the resources of the parties, their counsel and
the judiciary

lT lS THEREFORE ORDERED that the actions listed on Schedule A are transferred to the
Middle District of Florida and, with the consent of that court, assigned to the Honorable Gregory

A. Presnell for inclusion in the coordinated or consolidated pretrial proceedings occurring there in
this docket.

PANEL ON MULTlDISTRICT LI'l`lGATlON

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Sarah S. Vance

Chair
Marjorie O. Rendell Charles R. Breyer
Lewis A. Kaplan Ellen Segal Huvelle

R. David Proctor Catherine D. Perry

IN RE: AUTO BODY SHOP ANTlTRUST LITIGATION MDL No. 2557

SCHEDULE A

Western District of Pennsylvania

 

PROFESSIONAL, INC. v. FIRST CHOICE AUTO lNSURANCE COMPANY, ET AL.,
C.A. No. 3:17-00170

PROFESSIONAL, INC. v. KEMPER lNDEPENDENCE INSURANCE COMPANY,
C.A. No. 3:17-00176

